                                  COURT OF APPEALS
                               EIGHTH DISTRICT OF TEXAS
                                    EL PASO, TEXAS

                                              §
 MGA, Insurance Company, Inc., d/b/a                         No. 08-16-00192-CV
 Gainsco Auto Insurance and/or Gainsco        §
 Auto Insurance Agency, Inc.,                                   Appeal from the
                                              §
                            Appellant,                        353rd District Court
                                              §
 v.                                                         of Travis County, Texas
                                              §
 Samla Jift Velasquez-Ramirez,                             (TC# D-1-GN-16-002546)
                                               §
                           Appellee.

                                          ORDER

       The Court GRANTS the Court Reporter’s third request for an extension of time within

which to file the Reporter’s Record until October 6, 2016. NO FURTHER REQUESTS

FOR EXTENSION OF TIME TO FILE THE REPORTER’S RECORD WILL BE

CONSIDERED BY THIS COURT.

       It is further ORDERED that LaSonya Thomas, Court Reporter for the 353rd District Court,

for Travis County, Texas, prepare the Reporter’s Record for the above styled and numbered

cause, and forward the same to this Court on or before October 6, 2016.

       IT IS SO ORDERED this 23rd day of September, 2016.



                                                   PER CURIAM

Before McClure, C.J., Rodriguez, and Hughes, JJ.
